Case 9:18-cr-80111-RLR Document 110 Entered on FLSD Docket 09/24/2018 Page 1 of 4



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 18-CR-80111-ROSENBERG

  UNITED STATES OF AMERICA

  v.

  ERIC SNYDER,
  PAUL R. MATERIA,
  JOSEPH LUBOWITZ, and
  CHRISTOPHER FULLER,

                            Defendants.
                                                                         /

               NOTICE OF INTENT TO USE EXPERT WITNESS AND
         GOVERNMENT’S DISCLOSURE OF EXPERT WITNESS AND EVIDENCE

          The United States of America hereby files this Expert Disclosure, pursuant to the Standing

  Discovery Order, as well as Federal Rules of Discovery 702, 703, and 705. As part of its case in

  chief, the United States may introduce the testimony of Dr. Kelly J. Clark.1 Dr. Clark has been

  retained by the government as an expert in this case pre-Indictment, and the government plans to

  call her as an expert witness at trial. Dr. Clark, a licensed M.D. (in Florida and in other states)

  and M.B.A.: has over 20 years of experience in the addiction treatment field; is board-certified

  in addiction medicine and psychiatry; is a distinguished fellow of the American Psychiatric

  Association, and the American Society of Addiction Medicine; has been a Chief Medical Officer

  for two multi-state addiction treatment companies; worked on various national guidelines

  establishing the standards of care for addiction treatment and testing; and is the current President

  of the American Society of Addiction Medicine.




  1
   Dr. Clark’s resume has already been provided to defense counsel under separate cover, and can be provided to the
  Court as well, if necessary.
Case 9:18-cr-80111-RLR Document 110 Entered on FLSD Docket 09/24/2018 Page 2 of 4



          Dr. Clark’s testimony, including any expert opinion she renders, will be based on her:

  (1) professional expertise, including her medical training, clinical experience, and board

  certifications; (2) knowledge of relevant medical standards of practice and care in the substance

  abuse treatment field; (3) review and publication of medical texts, journals, and treatises; (4) her

  employment history; and (5) her continuing medical education requirements.

          Broadly, Dr. Clark will outline for the jury how substance abuse treatment is supposed to

  work, and will explain all of the terms in the “Background” section of the Indictment. Dr. Clark

  will describe the types of patients who are appropriate for substance abuse treatment; the types of

  treatment; and the applicable standards of care for professionals in the field. Further, Dr. Clark

  will explain the role of therapy sessions, 2 and urinalysis testing (UA), in substance abuse

  treatment, and what constitutes legitimate UA testing. Dr. Clark will comment on the different

  kinds of UA testing (initial point-of-care testing and the more expensive confirmatory UA testing).

  Dr. Clark will outline the purpose and types of UA testing; how such UA tests should be reviewed;

  and what UA tests are medically necessary.

          Dr. Clark will review patients’ files at Real Life Recovery Delray, LLC (“RLR”), and A

  Safe Place, LLC (“ASP”), d/b/a/ Halfway There Florida, LLC (“HWT”), collectively

  (“HWT/RLR”). Dr. Clark will be prepared to comment on these patients’ files, and on what she

  notices in these files as being improper. Dr. Clark will explain to the jury how HWT/RLR used

  UA testing as a profit center, billing for expensive confirmatory UA tests that were not justified or

  medically necessary. Dr. Clark will also talk about trends in the billing data for HWT/RLR, and

  possible indicia of fraud. Finally, Dr. Clark may provide summary charts to summarize aspects

  of the claims data, and may issue a written report.


  2
    Including Partial Hospitalization Programs (“PHP”), Intensive Outpatient Programs (“IOP”), and Outpatient
  Programs (“OP”).
Case 9:18-cr-80111-RLR Document 110 Entered on FLSD Docket 09/24/2018 Page 3 of 4



         A more detailed non-exhaustive summary of topics to which Dr. Clark is expected to testify

  to as an expert if she is allowed to do so by this Court, and the opinions she is expected to render,

  which may include opinions of hypothetical situations, will be provided to defense counsel shortly,

  under separate cover.

         The issues of what constitutes proper substance abuse treatment, particularly the

  importance of regular attendance at therapy sessions and the proper types, frequency, use of, and

  medical justifications for UA testing are integral to the fraud alleged in the Indictment. And what

  constitutes proper substance abuse treatment, and the proper methods for providing it, are not

  common knowledge. Dr. Clark will provide the jury with an outline of how substance abuse

  treatment is supposed to work.       She will also provide indications of possible fraud in the

  documentation and billing she reviews. With her testimony as a road-map, combined with the

  government’s fact-witnesses who have first-hand knowledge of what actually went on at

  HWT/RLR, the jury will have the proper context to determine whether the patients at HWT/RLR

  received appropriate substance abuse treatment, and whether the private insurers in this case were

  defrauded when they paid for such claims as billed by HWT/RLR. Dr. Clark will thus provide a

  baseline understanding from which the jury can judge for themselves whether the defendants

  committed health care fraud as charged in the Indictment, and Dr. Clark will provide specific

  examples of such fraud for the jury to evaluate as well.

         While the government has attempted to make this Expert Disclosure as complete as

  possible at this stage in the case, the government respectfully requests leave to further supplement

  this disclosure to address discrete issues that may present themselves in preparing for trial.
Case 9:18-cr-80111-RLR Document 110 Entered on FLSD Docket 09/24/2018 Page 4 of 4



         WHEREFORE the government respectfully requests that Dr. Kelly J. Clark be admitted as

  an expert witness, without the need for any formal Daubert hearing.

  Dated: September 24, 2018                          Respectfully submitted,


                                                     ARIANA FAJARDO ORSHAN
                                                     UNITED STATES ATTORNEY
                                                     SOUTHERN DISTRICT OF FLORIDA

                                              By:    /s/ James V. Hayes
                                                     JAMES V. HAYES (FL Bar # A5501717)
                                                     James.Hayes@usdoj.gov
                                                     Trial Attorney
                                                     United States Department of Justice
                                                     Criminal Division, Fraud Section
                                                     1400 New York Avenue, N.W.
                                                     Washington, D.C. 20005
                                                     Telephone: (202) 774-4276

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 24, 2018, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF.

                                                           /s/ James V. Hayes
                                                     James V. Hayes
                                                                  Trial Attorney-DOJ
